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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                      Case No. 22-mc-80139-CANNON/REINHART


  UNITED STATES OF AMERICA,

                      Petitioner,

  v.

  BOCA VIEW CONDOMINUM
  ASSOCIATION, INC., et al.,

                     Respondents.
  _________________________________________/

       ORDER GRANTING AMENDED MOTION TO WITHDRAW AS COUNSEL
            AND REQUEST FOR EXTENSION OF TIME (ECF NO. 22)

          Adam Cervera, Esq. and the law firm of Becker & Poliakoff, P.A (“Counsel”)

  move to withdraw as counsel for Respondents Boca View Condominium Association,

  Inc., Diana Kuka, Rose Watkins, Pointe Management Group, Inc., and Eric

  Estebanez (“Respondents”) (the “Motion”). ECF No. 22. Counsel seeks to withdraw

  due to irreconcilable differences with the Respondents which it claims prevents it

  from continuing to represent them. Id. at 1. The Motion also requests an extension of

  time for Respondents to comply with Judge Cannon’s March 16, 2023 Order (“March

  16, 2023 Order”) (ECF No. 19). Id. at 2. Based on the representations in the Motion,

  the government consents to Counsel’s withdraw and consents to a fifteen-day

  extension of time for Respondents to comply the March 16, 2023 Order. Id. at 3.

  Accordingly, it is hereby:

          ORDERED AND ADJUDGED as follows:
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        1.     The Motion (ECF No. 22) is GRANTED. Respondents shall comply with

  the March 16, 2023, Order no later than April 21, 2023. Additionally, Adam Cervera,

  Esq. and the law firm of Becker & Poliakoff, P.A will be relieved of all further duties

  and responsibilities for Respondents upon the occurrence of one of the following:

               a. Respondents fully comply with the March 16, 2023, Order;

               b. New counsel for Respondents files a notice of appearance; or

               c. Fifteen days expire. In other words, Counsel will be relieved of all

                   further duties and responsibilities for Respondents no later than

                   April 21, 2023.

        2.     Counsel shall send via U.S. mail and email a copy of this Order to

  Respondents forthwith.

        3.     All papers must be served on Respondents at the following address: 3600

  S. Congress Ave., Suite C, Attn: Eric Estebanez, Boynton Beach, FL 33426.

        4.     Respondents are responsible for updating their address by filing a notice

  of new address with the Clerk of Court.

        5.     By April 21, 2023 at 5:00 pm Eastern Time, Respondents Ms. Kuka, Ms.

  Watkins, and Mr. Estebanez shall retain new counsel and their new counsel shall file

  a notice of appearance, or Respondents Ms. Kuka, Ms. Watkins, and Mr. Estebanez

  shall file a notice indicating that they intend to proceed pro se.

        6.     By April 21, 2023 at 5:00 pm Eastern Time, Respondents Boca View

  Condominium Association, Inc. and Pointe Management Group, Inc. shall retain new

  counsel and their new counsel shall file a notice of appearance. Boca View



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  Condominium Association, Inc. and Pointe Management Group, Inc. are cautioned

  that “[t]he rule is well established that a corporation is an artificial entity that can

  act only through agents, cannot appear pro se, and must be represented by counsel.”

  See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385-1386 (11th Cir. 1985), cert. denied,

  474 U.S. 1058 (1986); Natl Indep. Theatre Exhibitors, Inc. v. Buena Vista Distribution

  Co., 748 F.2d 602, 609 (11th Cir. 1985), cert. denied, 471 U.S. 1056 (1985). Failure to

  retain new counsel may result in sanctions. Acosta v. Eagle Eye Comm’ns, LLC, No.

  17-MI-83, 2018 WL 4474640, at *3 (N.D. Ga. June 7, 2018), report and

  recommendation adopted, 2018 WL 4481971 (N.D. Ga. July 11, 2018).

        DONE and ORDERED in Chambers at West Palm Beach in the Southern

  District of Florida, this 6th day of April, 2023.




                                                        BRUCE E. REINHART
                                                        United States Magistrate Judge




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